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Case 4:20-cv-06762-YGR Document 3 Filed 09/24/20 Page 1 of 1

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Harris L. Winns

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Plaintiff, Pro Se SEP 24 20 0 -
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HARRIS L. WINNS A MOTION TO
Plaintiff, an Individual APPOINT COUNSEL
vs.
EXELA ENTERPRISE
SOLUTIONS, INC., ET AL.
Defendant, Automation of
Business Processes

 

 

 

 

MOTION TO APPOINT COUNSEL

COMES NOW, the Plaintiff, Harris L. Winns, in Pro Se status. Within this motion, the
Plaintiff respectfully moves this honorable court to grant his Motion to Appoint Counsel. And
as such, understands and state the following:

In proceedings in forma pauperis, the Court has the statutory power only to “request an
attorney to represent any person unable to afford counsel.”28 U.S.C. § 1915(e)(1).

Moreover, after the court’s review of the Plaintiff's heightened pleadings of “plausibility”
and “context specific” requirements, in addition to stating numerous claims upon which relief
may be granted, and as such, the Petitioner also prays that his motion is therefore granted by
this honorable court.

Respectfully submitted,
Dated: 24" day of September, 2020

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Harris L. Winns
Plaintiff, Pro Se

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WINNS V. EXELA INC.
PLAINTIFF’S MOTION TO APPOINT COUNSEL

 
